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 Fill in this information to identify the case
 Debtor name          Preferred Ready-Mix LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          21-33369
                                                                                                                   Check if this is an
 (if known)
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                             12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                      Current value of
                                                                                                                           debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of
                                                                                                   account number
3.1.    Chase Checking account
        Overdrawn in the amount of $11,237.54
        on petition date                                           Checking account                    0   7   6     6                     $0.00
3.2.    Chase Checking account                                     Checking account                    1   9   7     7                   $507.62

3.3.    Chase Checking account
        Overdrawn in the amount of $676.82
        on petition date                                           Checking account                    6   1   9     2                     $0.00

3.4.    Chase Checking account                                     Checking account                    7   0   2     8                     $0.00

3.5.    Checking account with Bank of America (DIP
        account)                                                   Checking account                                                      $800.00




Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                           page 1
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Debtor         Preferred Ready-Mix LLC                                                         Case number (if known)      21-33369
               Name

4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                                $1,307.62
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.

                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Alisons Inc.
        Security deposit for lease of premises located at 8750 Scranton Street, Houston, TX 77075                                               $3,100.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
                                                                                                                                                $3,100.00
       Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest
11. Accounts receivable

11a. 90 days old or less:                 $0.00                 –                 $0.00                  = .......................                   $0.00
                             face amount                            doubtful or uncollectible accounts

11b. Over 90 days old:               $628,241.26                –             $622,241.26                = .......................              $6,000.00
                             face amount                            doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $6,000.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                                  page 2
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Debtor       Preferred Ready-Mix LLC                                                 Case number (if known)     21-33369
             Name

                                                                                       Valuation method              Current value of
                                                                                       used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
                                                                                                                                     $0.00
    Add lines 14 through 16. Copy the total to line 83.

 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the     Net book value of     Valuation method              Current value of
                                                 last physical   debtor's interest     used for current value        debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
                                                                                                                                     $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method              Current value of
                                                                 debtor's interest     used for current value        debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 3
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Debtor       Preferred Ready-Mix LLC                                                    Case number (if known)    21-33369
             Name

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
                                                                                                                                       $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

     File cabinets, chairs, desks, cubicle stations                          Unknown                                              $5,000.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     TV, computers, printers, AC u nit, refrigerator,
     security cameras                                                        Unknown                                              $6,000.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 $11,000.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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Debtor       Preferred Ready-Mix LLC                                                  Case number (if known)    21-33369
             Name

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                          Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers        debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. 2003 Ford F25 / VIN: 1FTNF20F23EA34954
      Mechanics Truck                                                      Unknown                                             $10,000.00

47.2. 1999 Peterbilt 357 / VIN 1NPAL00X6YD500525
      Mixer Truck                                                          Unknown                                             $50,000.00

47.3. 1997 Peterbilt 379 / VIN 1NPAL70X7VD440436
      Mixer Truck                                                          Unknown                                             $50,000.00

47.4. 1996 Kenworth / VIN 1NKWL90X7TS671675
      Mixer Truck                                                          Unknown                                             $50,000.00

47.5. 1999 Peterbilt / VIN 1NPAL00X4XD494173 Mixer
      Truck                                                                Unknown                                             $50,000.00

47.6. 2000 Peterbilt / VIN 1NPAL00X4YD535435 Mixer
      Truck                                                                Unknown                                             $50,000.00
47.7. 1999 Peterbilt / VIN 1NPAL90X3XD494167 Mixer
      Truck                                                                Unknown                                             $50,000.00

47.8. 2005 Peterbilt / VIN 1NPAL50X25D875465 Mixer
      Truck                                                                Unknown                                             $80,000.00

47.9. 1999 Peterbilt / VIN 1NPAL00X4YD522751 Mixer
      Truck                                                                Unknown                                             $50,000.00

47.10. 2000 Peterbilt / VIN 1NPAL00X0YD522746 Mixer
      Truck                                                                Unknown                                             $50,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                             $490,000.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 5
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Debtor       Preferred Ready-Mix LLC                                                     Case number (if known)    21-33369
             Name

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 8750 Scranton Street, Houston, TX
       77075
       Lease of office premises                      Lease                                                                                $0.00
56. Total of Part 9.
                                                                                                                                          $0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Preferred Ready-Mix LLC                                                     Case number (if known)   21-33369
             Name

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

     Texcon Ready Mix Inc. for unapplied funds and related claims and causes of action                                            Unknown
     Nature of claim             suit
     Amount requested


     Matthew Tyson for fraud and embezzlement and related claims and causes of action                                             Unknown
     Nature of claim             suit
     Amount requested


     Robert Berleth for wrongful taking of property, conversion, and related claims and causes of
     action                                                                                                                       Unknown
     Nature of claim             suit
     Amount requested


76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Shipping storage container containing tools                                                                                 $30,000.00
     Tools                                                                                                                       $50,000.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                 $80,000.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                         page 7
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Debtor           Preferred Ready-Mix LLC                                                                             Case number (if known)         21-33369
                 Name

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                              $1,307.62
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                             $3,100.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $6,000.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $11,000.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $490,000.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +          $80,000.00

91. Total. Add lines 80 through 90 for each column.                        91a.            $591,407.62           +     91b.                  $0.00


                                                                                                                                                                   $591,407.62
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                         page 8
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 Fill in this information to identify the case:
 Debtor              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         21-33369                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Preferred Ready-Mix LLC                                                  Case number (if known)      21-33369

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,879.84
                                                                   Check all that apply.
Active Radiator                                                        Contingent
3675 Amber Street                                                      Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Philadelphia                             PA       19134            Building Lease

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $28,508.80
                                                                   Check all that apply.
AG Barn Management, LLC                                                Contingent
PO Box 409                                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Mayfield                                 KY       42068            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Alisons Inc.                                                           Contingent
1220 Shotwell Street                                                   Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Houston                                  TX       77020            Property Lease

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
AT&T                                                                   Contingent
208 S. Akard Street                                                    Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
Dallas                                   TX       75202            Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,747.17
                                                                Check all that apply.
Bank Direct Capital Finance                                         Contingent
150 N. Field Drive, Suite 190                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Lake Forest                            IL       60045           Building Lease

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,433.19
                                                                Check all that apply.
BlueVine Capital                                                    Contingent
401 Warren St., Suite 300                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Redwood City                           CA       94063           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $180,000.00
                                                                Check all that apply.
Cameron Roesle                                                      Contingent
10457 Royal Andrews Drive                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Conroe                                 TX       77303           Judgment Lien

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
Cirro Energy                                                        Contingent
2745 Dallas Parkway, Suite 200                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Plano                                  TX       75093           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,207.85
                                                                Check all that apply.
Con-Tech Manufacturing Inc.                                         Contingent
67079 170th Avenue                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Dodge Center                           MN       55927           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,000.00
                                                                Check all that apply.
Deon Wallace                                                        Contingent
2911 Ashlyn Arbor Drive                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Fresno                                 TX       77545           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,936.22
                                                                Check all that apply.
Gulfgate Dodge                                                      Contingent
7250 Gulf Freeway                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77017           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $22,000.00
                                                                Check all that apply.
Intuit Quickbooks                                                   Contingent
2700 Coast Avenue                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Mountain View                          CA       94043           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,069.30
                                                                Check all that apply.
Jeffrey C. McClellan, CPA, PLLC                                     Contingent
830 3rd St., Ste 205                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Rosenberg                              TX       77471           Accountant Fees

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,500.00
                                                                Check all that apply.
Lopez Concrete Chipping                                             Contingent
7802 Pecan Villas Drive                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77061           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,027.69
                                                                Check all that apply.
Mai & Na PLLC                                                       Contingent
6588 Corporate Drive, Suite 188                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
Mark S. Mills                                                       Contingent
SP #35733                                                           Unliquidated
                                                                    Disputed
Montgomery County Jail
                                                                Basis for the claim:
                                                                Notice Only

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Defendant in pending lawsuits




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $54,386.53
                                                                Check all that apply.
Matthew Tyson                                                       Contingent
5511 Olympiad Drive                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77041           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,171.64
                                                                Check all that apply.
McNielius Truck & Manufacturing Company                             Contingent
14201 Collections Center Drive                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60693           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $33,900.00
                                                                Check all that apply.
Medellin Concrete Chippin Service, Inc.                             Contingent
PO Box 225                                                          Unliquidated
                                                                    Disputed
South Houston, TXD 77587
                                                                Basis for the claim:
                                                                Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $45,619.00
                                                                Check all that apply.
Rhino Ready Mix LLC                                                 Contingent
6638 Madden Lane                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77048           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,000.00
                                                                Check all that apply.
Texas Truck Parts                                                   Contingent
2802 N. Wayside Drive                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77020           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $444,381.01
                                                                Check all that apply.
Texcon Ready Mix                                                    Contingent
2078 FM 1314                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Porter                                 TX       77365           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
disputed as to amount owed


  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
Verizon Reveal                                                      Contingent
1095 Avenue of the Americas                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
New York                               NY       10036           GPS Service for trucks

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,000.00
                                                                Check all that apply.
Wayne Tyson                                                         Contingent
19238 San Solomon Springs Court                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
Cypress                                TX       77433           Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Preferred Ready-Mix LLC                                                Case number (if known)      21-33369

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,000.00
                                                                Check all that apply.
Wex Bank                                                            Contingent
ExxonMobil                                                          Unliquidated
                                                                    Disputed
PO Box 4337
                                                                Basis for the claim:
Carol Stream                           IL       60197-4337      Business Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8
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Debtor        Preferred Ready-Mix LLC                                                      Case number (if known)   21-33369

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      Campbell Concrete & Materials LLC                                     Line
         16155 Park Row, Suite 120                                                    Not listed. Explain:
                                                                                      Notice only


         Houston                       TX      77084
         Contractor Agreement

4.2      Cemex Const. Materials Houston, LLC                                   Line
         5303 Navigation Blvd.                                                        Not listed. Explain:
                                                                                      Notice Only


         Houston                       TX      77011
         Transportation Agreement

4.3      Jeff Kaiser, Esq.                                                     Line      3.22
         2211 Norfolk Street, Suite 528                                               Not listed. Explain:




         Houston                       TX      77098


4.4      Mark S. Mills                                                         Line
         1111 League Line Road St.                                                    Not listed. Explain:
                                                                                      Notice Only


         Conroe                        TX      77303
         Defendant in pending lawsuits

4.5      Robert Foran                                                          Line
         9526 BonBrook Bend Lane                                                      Not listed. Explain:
                                                                                      Notice Only


         Richmond                      TX      77469


4.6      Robert W. Berleth, Receiver                                           Line
         9950 Cypresswood Drive, Suite 200                                            Not listed. Explain:
                                                                                      Notice Only


         Houston                       TX      77070


Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9
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Debtor       Preferred Ready-Mix LLC                                             Case number (if known)   21-33369

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.7      St. Croix Custom Pools, LLC                                 Line
         1501 McBride Rd.                                                   Not listed. Explain:
                                                                            Notice Only


         Cleveland                  TX    77328
         Defendant in pending lawsuits




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Debtor      Preferred Ready-Mix LLC                                           Case number (if known)      21-33369

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +            $942,768.24


5c. Total of Parts 1 and 2                                                                5c.                $942,768.24
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 11
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 Fill in this information to identify the case and this filing:
 Debtor Name         Preferred Ready-Mix LLC

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         21-33369
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 02/08/2022                       X /s/ Robert Foran
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Robert Foran
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
                                                                    §
IN RE:
                                                                    §
Preferred Ready-Mix LLC                                             §             Case No.     21-33369
                                                                    §
                           Debtor(s)                                §             Chapter      11


                 DECLARATION FOR ELECTRONIC FILING OF AMENDED PETITION,
                ORIGINAL/AMENDED BANKRUPTCY STATEMENTS AND SCHEDULES,
                       AND/OR AMENDED MASTER MAILING LIST (MATRIX)
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company named as the debtor in this case, I HEREBY DECLARE UNDER PENALTY OF PERJURY that I have read

      the original statements and schedules to be filed electronically in this case


      the voluntary petition as amended on                                and to be filed electronically in this case

      the statements and schedules as amended on                                      and to be filed electronically in this case


      the master mailing list (matrix) as amended on                                  and to be filed electronically in this case

and that the information provided therein is true and correct. I understand that this Declaration is to be filed with the Bankruptcy
Court within five (5) business days after such statements, schedules, and/or amended petition or matrix have been filed
electronically. I understand that a failure to file the signed original of this Declaration as to any original statments and schedules
will result in the dismissal of my case and that, as to any amended petition, statement, schedule or matrix, such failure may
result in the striking of the amendment(s).


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the statements, schedules, and/or
      amended petition or amended matrix on behalf of the debtor in this case.




Date: 2/8/2022             /s/ Robert Foran
                           Robert Foran
                           President
                           Complete EIN: XX-XXXXXXX
